  Case 17-28557          Doc 15    Filed 11/29/17 Entered 11/29/17 12:16:43               Desc Main
                                     Document     Page 1 of 1


                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TENNESSEE
                                     WESTERN DIVISION

IN RE:

WILLIAM EUGENE HENRY JR.,                                       CHAPTER 7
                                                                CASE NO. 17-28557-K
DEBTOR.                                                         SS# X XX-XX-5358


                              MOTION TO WITHDRAW AS COUNSEL


                                  EXPEDITED HEARING REQUESTED

         Comes now Jimmy E. McElroy, counsel for the Debtor, and hereby moves this Honorable Court to

enter an order allowing Jimmy E. McElroy to withdraw as counsel for William Eugene Henry, Jr., Debtor.

Debtor would show unto the court that Mr. Henry and Mr. McElroy can not agree on how to proceed in this

case.

         WHEREFORE, PREMISES CONSIDERED, the Debtor’s attorney prays that the Court set this

Motion for an expedited hearing, and that the Court enter an order allowing Jimmy E. McElroy to withdraw

as counsel.

                                                        Respectfully submitted,

                                                        _/s/ Jimmy E McElroy
                                                        Attorney for Debtor(s)
                                                        3780 S. Mendenhall
                                                        Memphis, TN 38115
                                                        (901) 363-7283



Certificate of Service
The undersigned certifies that the above motion was mailed VIA United State Postal Service to all parties
listed below on November 29, 2017.
                                                        /s/Jimmy E McElroy

Debtor(s)
Debtors’ Attorney
Case Trustee
All Entities on Matrix
